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                                      1                                   UNITED STATES DISTRICT COURT

                                      2                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                      3

                                      4   SYNNEX CORPORATION, a California
                                      5   Corporation,                                             Case No. 4:20-cv-07244-YGR
                                      6                                      Plaintiff,
                                      7                  v.                                        [PROPOSED] ORDER REGARDING
                                                                                                   PRETRIAL DEADLINES
                                      8   AXIS INSURANCE COMPANY, an Illinois
                                      9   Corporation,
                                                                                                   Dkt. No. 103
                                     10                                      Defendant.
                                     11

                                     12
355 South Grand Avenue, Suite 2450




                                     13           This Court having reviewed the Stipulation Regarding Pretrial Deadlines executed by
     Los Angeles, CA 90071
       Anderson Kill P.C.




                                     14   Plaintiff SYNNEX Corporation (“SYNNEX”) and Defendant AXIS Insurance Company

                                     15   (“AXIS”) (collectively, the “Parties”) on March 24, 2023, and for good cause shown, HEREBY

                                     16   ORDERS as follows:

                                     17           1.          The following deadlines will govern the balance of the case, including pretrial
                                     18   submissions:

                                     19                                        Event                                        Deadline
                                     20      Exchange Exhibit Lists                                                  May 1, 2023
                                     21      Exchange Objections to Exhibit Lists                                    May 29, 2023
                                     22      Exchange Fact and Expert Witness Lists                                  May 1, 2023
                                     23
                                             Exchange Objections to Fact and Expert Witness Lists                    May 29, 2023
                                     24
                                             Exchange Deposition Designations                                        June 12, 2023
                                     25
                                             Exchange Counter Deposition Designations                                June 26, 2023
                                     26      and Objections to Deposition Designations
                                     27

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                                                                                                                Case No. 4:20-cv-07244-YGR
                                                                       [PROPOSED] ORDER REGARDING PRETRIAL DEADLINES
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                                      1                                      Event                                     Deadline
                                      2      Plaintiff Submits Jury Instructions to Defendant                   June 1, 2023

                                      3      Defendant Submits Revisions/Objections to Jury Instructions,       June 15, 2023
                                             or if applicable, Competing Instructions
                                      4

                                      5      File Proposed Findings of Fact and Conclusions of Law              July 10, 2023
                                      6
                                             File Stipulated Facts                                              July 10, 2023
                                      7
                                             File Proposed Jury Instructions                                    July 10, 2023
                                      8
                                             Parties to Exchange (but not File) Motions In Limine               July 14, 2023
                                      9
                                               (28 days before Pretrial Conference)
                                     10

                                     11      Parties to Exchange Proposed Exhibits, Charts, Summaries,          July 14, 2023
                                             Diagrams, Video and Audio Recordings to be used at trial; and
                                     12      a Complete List of Proposed Exhibits
355 South Grand Avenue, Suite 2450




                                               (28 days before Pretrial Conference)
                                     13
     Los Angeles, CA 90071
       Anderson Kill P.C.




                                     14      Joint Pretrial Conference Statement Due                            July 28, 2023
                                     15        (14 days before Pretrial Conference)

                                     16      Contents Include:
                                     17          Substance of the Action
                                                 Relief Prayed
                                     18          Undisputed Facts
                                     19          Disputed Factual Issues
                                                 Agreed Statement
                                     20          Stipulations of Fact for Trial and Pretrial Purposes
                                     21          Disputed Legal Issues – Points of Law
                                                 Proposed Conclusions of Law
                                     22
                                                 Statement on Any Remaining Discovery/Motions
                                     23          Estimated Trial Time
                                                 List of Motions in Limine
                                     24
                                                 Juror Questionnaire
                                     25          Trial Alternatives – Settlement and Consent to Try before a
                                                    Magistrate
                                     26          Requested Amendments to Pleadings/Dismissal of Parties
                                     27              Request to Bifurcate or Separate Trial Issues

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                                                                   [PROPOSED] ORDER REGARDING PRETRIAL DEADLINES
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                                      1                                      Event                                        Deadline
                                      2      Parties’ Unresolved Motions In Limine Filed                           July 28, 2023
                                              (filed same day as Pretrial Conference Statement)
                                      3

                                      4

                                      5      Joint Trial Readiness Binder - Deliver Copies to Chambers             August 4, 2023
                                               (7 days before Pretrial Conference)
                                      6

                                      7       Contents Include:
                                                 Pretrial Conference Statement
                                      8
                                                 Proposed Order re Trial Stipulations (regarding the
                                      9             conduct of the trial)
                                                 Witness Lists
                                     10
                                                 Expert Witness Lists
                                     11          Exhibits Lists Annotated with Stipulations and
                                                    Objections
                                     12
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                                                 List of Discovery Excerpts, Audios, and Videos
                                     13          Jury Instructions
     Los Angeles, CA 90071
       Anderson Kill P.C.




                                     14          Proposed Statement of the Case for Jury
                                                 Joint Proposed Verdict Form
                                     15

                                     16
                                                  2.         The Pretrial Conference will be held on October 6, 2023, at 9:30 a.m.
                                     17

                                     18
                                                  3.         The Court sets the following date for trial: November 13, 2023.
                                     19

                                     20           This terminates Dkt. No. 103.
                                     21
                                                  IT IS SO ORDERED.
                                     22

                                     23   Dated: March 27, 2023
                                                                                                      YVONNE GONZALEZ ROGERS
                                     24                                                              UNITED STATES DISTRICT JUDGE

                                     25

                                     26

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                                                                     [PROPOSED] ORDER REGARDING PRETRIAL DEADLINES
